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      EXHIBIT A
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 1                                                  FILED
                                           2023 APR 19 01:25 PM
 2                                             KING COUNTY
                                          SUPERIOR COURT CLERK
 3                                                E-FILED
                                          CASE #: 23-2-07103-4 SEA
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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                                  COUNTY OF KING

 8 ROXANN BROWN and MICHELLE SMITH,                        Case No.:
   on their own behalf and on behalf of others
 9 similarly situated,                                     CLASS ACTION COMPLAINT FOR
10                                                         VIOLATION OF THE CONSUMER
                           Plaintiffs,                     PROTECTION ACT, RCW 19.86, AND
11                                                         THE COMMERCIAL ELECTRONIC
            v.                                             MAIL ACT, RCW 19.190
12
   OLD NAVY, LLC; OLD NAVY (APPAREL),                      DEMAND FOR TRIAL BY JURY
13 LLC; OLD NAVY HOLDINGS, LLC; GPS

14 SERVICES, INC.; and THE GAP, INC.,
   inclusive,
15
                      Defendants.
16

17

18                                I.      NATURE OF THE ACTION

19          1.     This is a class action against Defendants Old Navy, LLC, Old Navy (Apparel),

20 LLC, Old Navy Holdings, LLC, GPS Services, Inc., and The Gap, Inc. (collectively, “Old Navy”

21 or “Defendants”) for false and misleading email marketing.

22          2.     Old Navy sends emails to Washington consumers which contain false or

23 misleading information in the subject lines. For example, Old Navy sends emails that mis-state

24 the duration of given promotions, in an apparent effort to drive sales by creating a false sense of

25 urgency. The subject line of these kinds of emails falsely claims that a certain sale or discount is

26 limited to a specific time, such as “today only” or “3 DAYS ONLY,” when, in reality, the offer

27 lasts longer than advertised or the item has already been on sale for longer than advertised. As
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 1 another example, Old Navy sends emails with subject lines claiming that a sale or discount has

 2 been “extended,” when, in reality, Old Navy always planned the sale to continue during the

 3 advertised extension.

 4          3.      Old Navy also uses its preconceived “sale extensions” as an excuse to send
 5 consumers additional emails purporting to notify them that a sale is ending or that a sale has been

 6 extended. This practice causes consumers’ inboxes to become inflated with spam.

 7          4.      Old Navy’s practice of sending serial emails about sales with imaginary time
 8 limits, fake extensions, and more illusory special offers violates the Washington Commercial

 9 Electronic Mail Act (“CEMA”), RCW 19.190, and the Washington Consumer Protection Act,

10 RCW 19.86.

11          5.      By sending emails with false and misleading information to Plaintiffs and the
12 Class (defined below), Old Navy clogs emails inboxes with false information and violates

13 Plaintiffs’ and Class members’ right to be free from deceptive commercial e-mails.

14          6.      Plaintiffs bring this action as a class action on behalf of persons residing in
15 Washington who also received Old Navy’s false and misleading emails. Plaintiffs’ requested

16 relief includes an injunction to end these practices, an award to Plaintiffs and Class members of

17 statutory and exemplary damages for each illegal email, and an award of attorneys’ fees and

18 costs.

19                                            II.    PARTIES
20          7.      Plaintiff Roxann Brown is a citizen of Washington State, residing in Pierce
21 County, Washington.

22          8.      Plaintiff Michelle Smith is a citizen of Washington State, residing in Clark
23 County, Washington.

24          9.      Defendant Old Navy, LLC is a wholly-owned subsidiary of The Gap, Inc., and is
25 a limited liability company chartered under the laws of the State of Delaware. Old Navy, LLC

26 currently is, and at all relevant times in the past has, engaged in substantial business activities in

27 the State of Washington and in King County.
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 1          10.     Defendant Old Navy (Apparel), LLC, is a wholly-owned subsidiary of GPS
 2 Services, Inc., and is a limited liability company chartered under the laws of the State of

 3 California. Old Navy (Apparel), LLC currently is, and at all relevant times in the past has,

 4 engaged in substantial business activities in the State of Washington and in King County.

 5          11.     Defendant Old Navy Holdings, LLC, is a limited liability company chartered
 6 under the laws of the State of California. Old Navy Holdings, LLC currently is, and at all

 7 relevant times in the past has, engaged in substantial business activities in the State of

 8 Washington and in King County.

 9          12.     Defendant GPS Services, Inc., is a wholly-owned subsidiary of The Gap, Inc., and
10 is a corporation chartered under the laws of the State of California. GPS Services, Inc. currently

11 is, and at all relevant times in the past has, engaged in substantial business activities in the State

12 of Washington and in King County.

13          13.     Defendant The Gap, Inc., is a corporation chartered under the laws of the State of
14 Delaware. The Gap, Inc. currently is, and at all relevant times in the past has, engaged in

15 substantial business activities in the State of Washington and in King County.

16          14.     Old Navy owns and operates a large online marketplace to consumers in the state
17 of Washington, maintain more than 20 physical stores in the state, including 7 stores in King

18 County, and send the marketing emails at issue in this Complaint to consumers throughout

19 Washington.

20                                III.    JURISDICTION AND VENUE
21          15.     This Court has subject matter jurisdiction over this civil action pursuant to,
22 without limitation, Section 6 of Article IV of the Washington State Constitution (Superior Court

23 jurisdiction, generally), RCW 19.86.090 (Superior Court jurisdiction over Consumer Protection

24 Act claims) and RCW 19.190.090 (Superior Court jurisdiction over Commercial Electronic Mail

25 Act claims).

26          16.     This Court has personal jurisdiction over Old Navy under RCW 4.28.185. This
27 Court may exercise personal jurisdiction over the out-of-state Old Navy because the claims
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 1 alleged in this civil action arose from, without limitation, Old Navy’s purposeful transmission of

 2 electronic mail messages to consumers within the State of Washington. In addition, Old Navy

 3 intended, knew, or is chargeable with the knowledge that its out-of-state actions would have a

 4 consequence within Washington.

 5          17.     This also Court has personal jurisdiction over Old Navy under RCW 19.86.160.
 6 For example, and without limitation, Old Navy engaged and is continuing to engage in conduct

 7 in violation of RCW 19.86 which has had and continues to have an impact in Washington which

 8 said chapter reprehends.

 9          18.     Venue is proper in King County Superior Court because Old Navy is made up of
10 corporations that have their residence in King County. RCW 4.12.025. Currently and at all

11 relevant times, Old Navy has transacted business in King County, including without limitation

12 by sending the marketing emails alleged herein to residents of King County, and maintaining

13 stores for the transaction of business within King County.

14                                     IV.   FACTUAL ALLEGATIONS
15 A.       The CEMA prohibits initiating or conspiring to initiate the transmission of
16          commercial e-mails with false or misleading subject lines.
            19.     Washington’s Commercial Electronic Mail Act (CEMA) regulates deceptive
17
     email marketing.
18
            20.      “CEMA was enacted to protect concrete interests in being free from deceptive
19
     commercial e-mails. CEMA’s prohibition on sending commercial e-mails with false or
20
     misleading subject lines . . . creates a substantive right to be free from deceptive commercial e-
21
     mails.” Harbers v. Eddie Bauer, LLC, 415 F. Supp. 3d 999, 1011 (W.D. Wash. 2019 Nov. 27,
22
     2019) (holding that the plaintiff sufficiently pleaded concrete injury-in-fact for alleged CEMA
23
     violations based on her receipt of marketing emails from the defendant containing allegedly false
24
     “xx% off” statements in the subject line). Washington courts have held that “[t]he harms
25
     resulting from deceptive commercial e-mails resemble the type of harms remedied by nuisance
26
     or fraud actions.” Id. at 1008.
27
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 1          21.     An injury occurs anytime a commercial e-mail is transmitted that contains false or
 2 misleading information in the subject line. Id. at 1011.

 3          22.     Under CEMA, it is irrelevant whether misleading commercial e-mails were
 4 solicited. Id.

 5          23.     CEMA creates an independent but limited private of right of action which can be
 6 asserted by a person who is the recipient of a commercial electronic mail message which

 7 contains false or misleading information in the subject line. RCW 19.190.030(1)(b). A plaintiff

 8 who successfully alleges and proves such a violation may obtain, among other things, an

 9 injunction against the person who initiated the transmission. RCW 19.190.090(1). Wright v.

10 Lyft, Inc., 189 Wn.2d 718, 728 n. 3 (2017) (“we note that a plaintiff may bring an action to

11 enjoin any CEMA violation.”).

12          24.     It is a violation of the consumer protection act, RCW 19.86 et seq., to initiate the
13 transmission or conspire with another person to initiate the transmission of a commercial

14 electronic mail message that contains false or misleading information in the subject line. RCW

15 19.190.030(1). See also RCW 19.190.030(2) (providing “that the practices covered by this

16 chapter are matters vitally affecting the public interest for the purpose of applying the consumer

17 protection act, chapter 19.86 RCW. A violation of this chapter is not reasonable in relation to the

18 development and preservation of business and is an unfair or deceptive act in trade or commerce

19 and an unfair method of competition for the purpose of applying the consumer protection act,

20 chapter 19.86 RCW.”).

21          25.     To establish a violation of Washington’s CPA, a claimant must establish five
22 elements: (1) an unfair or deceptive act or practice, (2) in trade or commerce, (3) that affects the

23 public interest, (4) injury to plaintiff’s business or property, and (5) causation. Hangman Ridge

24 Stables, Inc. v. Safeco Title Ins. Co., 719 P.2d 531, 533 (Wash. 1986).

25          26.     Washington and federal courts have held that a plaintiff states a CPA claim solely
26 by alleging a violation of the CEMA. See State v. Heckel, 143 Wash.2d 824, 24 P.3d 404, 407

27 (2001) (“RCW 19.190.030 makes a violation of [CEMA] a per se violation of the [CPA].”).
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 1 Indeed, by alleging a CEMA violation of RCW 19.190.020, a plaintiff alleges all five elements

 2 of a CPA violation. See Gordon v. Virtumundo, Inc., 575 F.3d 1040, 1065 (9th Cir. 2009) (citing

 3 Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wash.2d 778, 719 P.2d 531,

 4 535-37 (1986)); Wright, 406 P.3d at 1155 (“We conclude that RCW 19.190.040 establishes the

 5 injury and causation elements of a CPA claim as a matter of law.”).

 6 B.       Old Navy initiates (or conspires to initiate) the transmission of commercial e-mails
 7          with false or misleading subject lines.
            27.     Old Navy has initiated (or conspired to initiate) the transmission of dozens of
 8
     commercial electronic mail messages with false or misleading subject lines to Plaintiffs and the
 9
     Class. The emails were electronic mail messages, in that they were each an electronic message
10
     sent to an electronic mail address; the emails from Old Navy also referred to an internet domain,
11
     whether or not displayed, to which an electronic mail message can or could be sent or delivered.
12
            28.     Old Navy sent the emails for the purpose of promoting its goods for sale.
13
            29.     The emails were sent at Old Navy’s direction and were approved by Old Navy.
14
            30.     Old Navy’s emails frequently advertise the “limited” nature of sales, discounts,
15
     and prices. For example, on April 30, 2022, Old Navy sent an email with a subject line, “No
16
     joke! $12.50 JEANS (today only) . . .” By stating that a sale is only on for a limited time, Old
17
     Navy suggests an offer’s rarity or urgency, stimulating consumers’ desire to get the deal before
18
     its gone while simultaneously inducing fear of missing a good buy. With this simple technique, a
19
     consumer can be seduced into making an impulsive purchase in a hurry.
20
            31.     Old Navy designs the subject lines of its marketing emails to tap into these
21
     consumer urges—going so far as to feature images of clocks in the email subject line itself next
22
     to words such as “tick-tock” and “Time’s almost out.” Other email subject lines spur the
23
     recipient to make purchases, prompting the recipient to “Hurry!,” “OPEN QUICKLY,” and “Go,
24
     go, go!”
25

26

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 1          32.     The fact that such statements are false and misleading has been recognized by the
 2 Federal Trade Commission, which directs that sellers should not “make a ‘limited’ offer which,

 3 in fact, is not limited.” 16 C.F.R. § 233.5.

 4          33.     Old Navy uses the purportedly limited nature of its offers to send more emails to
 5 consumers than it otherwise might. Old Navy may send a single consumer up to five marketing

 6 emails per day, and commonly sends three marketing emails every day, many of them

 7 advertising “limited time” offers. For example, Old Navy will send an email (i) when a limited

 8 time offer starts, (ii) while the offer is ongoing, (iii) when the offer is getting close to ending, (iv)

 9 when the offer is in its final hours, and (v) when the offer as been “extended.” When several

10 emails contain the same false and misleading information about the limited nature of an offer, the

11 emails clog up inboxes with spam email and waste limited data space.

12          34.     Old Navy violates CEMA because many of the statements in the email subject
13 lines intended to seduce consumers into making a purchase are false and misleading on several

14 fronts. There are numerous examples of Old Navy emails that can be shown to have false and

15 misleading information in the subject lines just by reviewing the subject lines of other Old Navy

16 emails. While there are too many examples to include them all here, the facts alleged below

17 show the types of false and misleading email subject lines Old Navy deploys.

18          1.      The offer is available longer than stated in the subject line of the email.
19          35.     Old Navy commonly claims or suggests that sales will only be available for a
20 certain amount of time in the email subject line. However, in many instances, the sale is

21 available for longer than the time period stated in the email subject line.

22          36.     For example, on May 15, 2021, Old Navy sent an email with a subject line stating
23 “$12 women's compression leggings, today only”. However, the next day, Old Navy sent an

24 email with a subject line advertising “TWELVE DOLLAR compression leggings”.

25

26

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 1             37.      The subject line of the email sent on May 15, 2021, stating that the leggings
 2 would be offered at that price for “today only,” was therefore false and misleading because the

 3 leggings were offered at the same price the next day.

 4             38.     As a second example, the jeans Old Navy advertised via email on April 30, 2022,
 5 with the subject line “No joke! $12.50 JEANS (today only) . . . ,” were also advertised in the

 6 email subject line the next day with a nearly identical subject line: “No joke! $12.50 JEANS (you

 7 earned it).”

 8             39.     The subject line of the email sent on April 30, 2022, stating that the jeans would
 9 be offered at that price for “today only,” was false and misleading because the jeans were offered

10 at the same price the next day.

11             40.     As another example, on April 15, 2022, Old Navy sent an email with a subject
12 line stating “3 DAYS ONLY! 50% OFF DRESSES, SHORTS, & ACTIVE!” But, on April 18,

13 more than three days after the sale was first advertised in Old Navy’s marketing emails, Old

14 Navy sent another email with the subject line stating “50% OFF ACTIVE.”

15             41.     The subject line of the email sent on April 15, 2022, stating that active wear
16 would be 50% off for “3 DAYS ONLY,” was therefore false and misleading because active wear

17 was offered at 50% for more than three days.

18             42.     As another example, on June 4, 2022, Old Navy sent an email with a subject line
19 stating “Today Only: $12 cami tops + $12 shorts.” However, two days later, on June 6, 2022,

20 Old Navy sent an email advertising cami tops at the same price with a subject line stating: “. . .

21 $12 cami tops (this week only!!).”1

22             43.     The subject line of the email sent on June 4, 2022, stating that the cami tops were
23 $12 for “today only,” was therefore false and misleading because the cami tops were offered at

24 the same price in the following days.

25
     1
         An email with the subject line “Snag $19 and under styles for the fam + $12 cami tops (this week only!!)
26 ,” was also sent on June 2, 2022, meaning the sale on cami tops was already ongoing when it was advertised
     as “today only” on June 4, 2022 at the same price. The June 4, 2022 email is therefore also false and
27 misleading for the reasons outline in Section B.2 below.
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 1          44.     As another example, starting on June 7, 2022, Old Navy sent emails advertising in
 2 the subject lines “$29 matching tops & bottoms (this week only!).” The “one week” sale was

 3 advertised in email subject lines on June 7, June 8, June 12, and June 15, 2022. However, the

 4 same price continued to be advertised in email subject lines eight days after the first email, on

 5 June 15, 2022, and the fine print at the bottom of the email stated the price would be offered for

 6 nine days, until June 16, 2022, i.e., more than one week.

 7          45.     The subject lines of the emails sent on June 7, June 8, June 12, and June 15, 2022,
 8 advertising the “one week” sale, were therefore false and misleading because the sale was

 9 offered for more than one week.

10          2.      The email states or suggests that the offer is new, but the offer was already
11                  available.
            46.     Old Navy’s commonly misleads consumers into thinking that a sale or discount is
12
     new or is only being offered for a limited time, when the offer or sale has already been ongoing.
13
     Such false and misleading statements trick the consumer into thinking that the offer is rarer than
14
     it really is and that they should act to take advantage of the special offer.
15
            47.     For example, Old Navy began advertising OG Straight shorts for $16 in email
16
     subject lines on the May 3, 2022. On May 5, 2022, the OG straight shorts were advertised in an
17
     email subject line stating “THIS WEEK ONLY! $16 OG Straight shorts.” However, on May 9,
18
     2022, Old Navy sent an email with a subject line stating “ONE DAY ONLY ! 50% OFF jeans +
19
     $16 OG Straight shorts.”
20
            48.     The subject line of the email sent on May 9, 2022, stating that the $16 OG
21
     Straight shorts was “ONE DAY ONLY,” was therefore false and misleading because the sale
22
     was offered for more than one day.
23
            49.     As another example, on June 18, 2022, Old Navy sent an email with a subject line
24
     stating “@You: FIFTY PERCENT OFF all dresses (today only!).” However, Old Navy
25
     advertised all dresses at 50% off the day before in an email subject line stating “You heard
26
     correctly, 50% off ALL dresses . . .”
27
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 1         50.     The subject line of the email sent on June 18, 2022, stating that 50% off dresses
 2 was being offered for “today only,” was therefore false and misleading because the sale was

 3 offered for more than one day.

 4         51.     As a third example, on July 31, 2022, Old Navy sent an email with a subject line
 5 stating “A Sunday treat * Half off ALL jeans + $3 kids deals.” However, the same two offers

 6 were also advertised the day before in three emails sent on July 30 with different subject lines.

 7         52.     The subject line of the email sent on July 31, 2022, stating that the offered deal
 8 was a “Sunday treat,” was therefore false and misleading because the advertised deals were not

 9 limited to that Sunday.

10         3.      The email states or suggests that the sale is ending, but the sale continues.
11         53.     Old Navy often sends marketing emails with subject lines stating or suggesting
12 that a sale is ending soon but the sale continues after the email. These emails give consumers a

13 false sense of urgency and spur impulse buys by consumers who do not want to miss the deal.

14         54.     For example, on February 10, 2019, Old Navy sent an email with the subject line:
15 “GAH! This is the last chance to get up to 50% OFF . . .” However, the next day, Old Navy sent

16 an email with a subject line stating “We've announced UP TO 50% OFF STOREWIDE (starting

17 now).” The 50% off storewide promotion continued to be advertised through February 16, 2019.

18         55.     The subject line of the email sent on February 10, 2019, stating that it was the
19 “last chance” to get 50% off, was therefore false and misleading because 50% continued to be

20 offered in the following days.

21         56.     As another example, on March 17, 2019, Old Navy sent an email with a subject
22 line stating “$20 Rockstars + 40% OFF (final reminder!).” However, the next day, on March 18,

23 2019, Old Navy sent an email with a subject line stating “Urgent: You're getting FORTY

24 PERCENT OFF EVERYTHING online for one more day!”

25         57.     The subject line of the email sent on March 17, 2019, stating that it was the “final
26 reminder” to get 40% off was therefore false and misleading because the promotion continued

27 into the next day and Old Navy sent additional reminders.
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 1          58.     As another example, on November 26, 2021, Old Navy sent an email with the
 2 subject line “FINAL HOURS: $5 PJ pants + 50% off — get your gift list ready”. Old Navy

 3 continued to advertise “50% off” through November 28, 2021, when it sent an email with the

 4 subject line “Last chance for $8 thermal leggings + 50% OFF & sooo many cyber deals.” Old

 5 Navy continued to advertise “50% off” through November 29, 2021, when it sent an email with

 6 the subject line stating “FINAL HOURS: 50% OFF *and* $7 PJ pants.” However, Old Navy

 7 continued to advertise the 50% off sale in email subject lines the following day.

 8          59.     The subject lines of the emails sent on November 26, 2021, November 28, 2021,
 9 and November 29, 2021 stating that it was the “FINAL HOURS” or “last chance” to get 50% off

10 were therefore false and misleading because the same offer was advertised for days after those

11 emails were sent.

12          4.      The email states that the sale has been “extended,” but Old Navy always
13                  planned for the sale to be offered during the purported “extension.”
            60.     Old Navy also misrepresents the length of time sales will be offered by sending
14
     emails stating that a sale has been “EXTENDED!!” These emails are often sent following long
15
     holiday weekends when consumers are back at their computers or on their phones after a
16
     weekend of activity. However, discovery will show that Old Navy employees did not gather at
17
     the end of the planned sale and determine that the sale should be extended. Instead, the sale was
18
     always planned to continue and the advertised “extension” is fake. For example, as detailed in
19
     paragraph 59 above, Old Navy advertised a 50% off sale in 2021 for “Black Friday” and “Cyber
20
     Monday.” However, around 2:00 AM on Tuesday, November 30, 2021, Old Navy sent an email
21
     with a subject line stating “No joke, it's CYBER TUESDAY! 50% off has been extended for
22
     ONE. MORE. DAY.” Old Navy continued to advertise the “extended” sale, with emails that
23
     same day stating in the subject lines “FIFTY PERCENT OFF has been extended + 60% off
24
     ~these~ picks” and “Oooooh! SIXTY percent off cozy faves for the fam + we're extending 50%
25
     off online until midnight”.
26

27
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 1          61.     The subject lines of the three emails sent on November 30, 2021, stating that the
 2 50% off sale had been extended, were therefore false and misleading because, as discovery will

 3 show, Old Navy had long planned to offer the 50% off sale on Tuesday, November 30, 2021.

 4          62.     This inference is further supported by the fact that Old Navy sent the same false
 5 and misleading “sale extended” emails on the Tuesday following Thanksgiving the next year, in

 6 2022. Old Navy sent an email on Saturday, November 26, 2022 stating in the subject line

 7 “CYBER WEEKEND OFFICIAL: 50% off EVERYTHING (for real!) + $12 jeans & $2 cozy

 8 socks.” Old Navy continued to advertise the sale on the following Sunday and on Cyber

 9 Monday. Then, around 5:30 AM on Tuesday, November 29, 2022, Old Navy sent an email with

10 the subject line “Special alert: 50% off EVERYTHING extended just for you + $10 turtlenecks”.

11          63.      The subject line of the email sent on November 29, 2022, stating that the 50% off
12 sale had been extended, was therefore false and misleading because, as discovery will show, Old

13 Navy had long planned to offer the 50% off sale on Tuesday, November 29, 2022.

14 C.       Old Navy Sends Commercial Emails to Consumers Whom It Knows, Or Has
15          Reason to Know, Reside In Washington.
            64.     Old Navy sent the misleading commercial emails to email addresses that Old
16
     Navy knew, or had reason to know, were held by Washington residents, either because (i) Old
17
     Navy had a physical Washington address that was associated with the recipient; (ii) Old Navy
18
     had access to data regarding the recipient indicating that they were in Washington state; or (iii)
19
     information was available to Old Navy upon request from the registrant of the internet domain
20
     name contained in the recipient’s electronic mail address.
21
            65.     Old Navy knows where many of its customers reside through several methods.
22
            66.     First, for any person that places an order online from Old Navy, Old Navy
23
     associates an email address with a shipping address and/or billing address for that order.
24
            67.     Second, Old Navy encourages online shoppers to create online accounts.
25
     Customers save information in their Old Navy accounts along with their email address, such as
26
     shipping addresses, billing addresses, and phone numbers.
27
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 1          68.    Third, Old Navy offers consumers credit cards. Consumers who apply or sign up
 2 for such cards must provide additional identifying information, such as a social security number,

 3 and provide a billing address to Old Navy. Old Navy also pulls information related to the

 4 consumer, such as their past addresses.

 5          69.    Fourth, discovery will show that Old Navy employs methods to track the
 6 effectiveness of its marketing emails and to identify consumers that click on links contained in

 7 Old Navy’s marketing emails, including by identifying their physical location. For example,

 8 discovery will also show that Old Navy gathers information such as geocoordinates and IP

 9 addresses from individuals who click on links in Old Navy commercial emails, and that Old

10 Navy can use such information to determine whether the recipient is in Washington.

11          70.    Fifth, Old Navy also utilizes cookies, pixels, and other online tracking
12 technologies to identify and locate the consumers that click on links contained in Old Navy’s

13 marketing emails and that visit its website. For example, Old Navy has installed the Meta Pixel

14 on its website, which identifies website visitors and can identify specific Facebook and

15 Instagram users that visit the Old Navy website; information that can be associated with the data

16 collected by Meta on where that consumer resides. Old Navy also employs tracking technologies

17 provided by Google, Inc., Yahoo! Inc., FullStory, Inc., Twitter, Inc., Microsoft, Inc., and others

18 that may be able to locate consumers in the state of Washington.

19          71.    Sixth, discovery will also show that Old Navy employs sophisticated third parties
20 who create profiles of customers and potential customers, including their email address and

21 physical location.

22          72.    Lastly, Old Navy also knew, should have known, or had reason to know that it
23 sends marketing emails to Washington residents due to its large presence in the state and the

24 volume of marketing emails it sends to people around the country. See Heckel, 122 Wash. App.

25 at 6 (holding as a matter of law that a defendant had a reason to know that he sent emails to

26 Washington residents by sending over 100,000 emails a week to people around the country).

27
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 1            73.    Discovery will show that, at the time it sent the emails with false and misleading
 2 subject lines, Old Navy had access to the data described above regarding the location of

 3 consumers in Washington to whom it sent the emails.

 4 D.         Old Navy initiated (or conspired to initiate) the transmission of illegal emails to
 5            Plaintiffs.
              74.    At all times relevant to this Complaint, Plaintiff Brown resided in Washington
 6
     State.
 7
              75.    Plaintiff Brown has received Old Navy emails since at least September 2017.
 8
     Plaintiff Brown has received thousands of marketing emails from Old Navy since that date, and
 9
     typically receives 2-3 emails every day.
10
              76.    Plaintiff Brown receives emails from Old Navy at a yahoo.com email address.
11
     Plaintiff Brown has a 1000 GB limit of free data from yahoo. Plaintiff Brown currently has at
12
     least 1,243 emails from Old Navy in her inbox, but discovery will show that she has received
13
     many more emails that she has deleted to conserve the finite space available in her email inbox.
14
              77.    Old Navy knows, or has reason to know, that Plaintiff Brown’s email address is
15
     held by a Washington resident. Plaintiff Brown has an account with Old Navy that reflects her
16
     home address in the State of Washington. Plaintiff Brown had made several purchases from the
17
     Old Navy website that have been delivered to her home in Washington and she has shopped in
18
     Old Navy stores in Washington with her account. Plaintiff Brown has also repeatedly clicked on
19
     links contained in Old Navy emails from her computer, which was registered to an IP address in
20
     Washington at all relevant times, or from her smart phone, which was located in Washington
21
     unless Plaintiff Brown happened to be traveling.
22
              78.    Plaintiff Brown received the emails with false and misleading subject lines
23
     described in paragraphs 37, 39, 41, 45, 50, 55, 57, 59, 61, and 63, above. Plaintiff Brown
24
     received additional emails with false and misleading subject lines from Old Navy as identified
25
     Exhibit A. The emails that Plaintiffs allege are misleading are bolded in Exhibit A and the
26
     remaining emails provide the context showing why each subject line is false or misleading.
27
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 1          79.    Old Navy sent these emails to Plaintiff Brown for the purpose of promoting Old
 2 Navy’s goods for sale.

 3          80.    Old Navy initiated the transmission or conspired to initiate the transmission of
 4 these commercial electronic mail messages to Plaintiff Brown.

 5          81.    Plaintiff Brown does not want to receive emails with false and misleading subject
 6 lines from Old Navy, though she would like to continue receiving truthful information from Old

 7 Navy regarding its products. However, due to Old Navy’s conduct, Plaintiff Brown cannot tell

 8 which emails from Old Navy contain truthful information or which emails are spam with false

 9 and misleading information designed to spur her to make a purchase.

10          82.    At all times relevant to this Complaint, Plaintiff Smith resided in Washington
11 State.

12          83.    Plaintiff Smith has received Old Navy emails since at least December 2021.
13 Plaintiff Brown has received hundreds of marketing emails from Old Navy since that date, and

14 typically receives 2-3 emails every day.

15          84.    Plaintiff Smith receives emails from Old Navy at a gmail.com email address.
16 Plaintiff Smith has a 15 GB limit of free data from Gmail. Plaintiff Smith currently has at least

17 614 emails from Old Navy in her inbox, but it is likely that she has received more emails that she

18 has deleted to conserve the finite space available in her email inbox.

19          85.    Old Navy knows, or has reason to know, that Plaintiff Smith’s email address is
20 held by a Washington resident. Plaintiff Smith has an account with Old Navy that reflects her

21 home address in the State of Washington. Plaintiff Smith has made several purchases from the

22 Old Navy website that have been delivered to her home in Washington and she has shopped in

23 Old Navy stores in Washington with her account. Plaintiff Smith has also repeatedly clicked on

24 links contained in Old Navy emails from her computer, which was registered to an IP address in

25 Washington at all relevant times, or from her smart phone, which was located in Washington

26 unless Plaintiff Smith happened to be traveling.

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 1          86.    Plaintiff Smith received the emails with false and misleading subject lines
 2 described in paragraphs 39, 43, 45, 48, 50, 52, and 63 above. Plaintiff Smith received additional

 3 emails with false and misleading subject lines from Old Navy as identified Exhibit B. The emails

 4 that Plaintiffs allege are misleading are bolded in Exhibit B and the remaining emails provide the

 5 context showing why each subject line is false or misleading.

 6          87.    Old Navy sent these emails to Plaintiff Smith for the purpose of promoting Old
 7 Navy’s goods for sale.

 8          88.    Old Navy initiated the transmission or conspired to initiate the transmission of
 9 these commercial electronic mail messages to Plaintiff Smith.

10          89.    Plaintiff Smith does not want to receive emails with false and misleading subject
11 lines from Old Navy, though she would like to continue receiving truthful information from Old

12 Navy regarding its products. However, due to Old Navy’s conduct, Plaintiff Smith cannot tell

13 which emails from Old Navy contain truthful information or which emails are spam with false

14 and misleading information designed to spur her to make a purchase.

15          90.    As shown in Exhibits A and B, Plaintiff Brown has identified at 51 and Plaintiff
16 Smith has identified at least 40 Old Navy emails with false and misleading subject lines currently

17 in their email inboxes. These emails were sent between September 20, 2018 to December 11,

18 2022, showing that Old Navy engaged in this conduct throughout the relevant time period.

19 Plaintiffs continue to receive emails with false and misleading subject lines. However, because

20 Plaintiffs have deleted some of the emails they have received from Old Navy, they are not

21 presently able to identify all the emails with false and misleading subject lines they have

22 received. Old Navy is aware of all the emails it has sent Plaintiffs and discovery will show the

23 full number of illegal spam emails Old Navy has sent throughout the relevant time period.

24                             V.     CLASS ACTION ALLEGATIONS
25          91.    Class Definition. Pursuant to Civil Rule 23(b)(3), Plaintiffs bring this case as a
26 class action on behalf of a Class defined as:

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                    All Washington residents2 who, within four years before the date of
 1
                    the filing of this complaint until the date any order certifying a class
 2                  is entered, received an email from or at the behest of Old Navy, LLC
                    that contained a subject line stating or implying that (1) a sale,
 3                  discount, price, or other offer would only be available for a limited
                    time, and the sale, discount, price, or other offer was in fact offered
 4                  for a longer period of time; (2) a sale, discount, price, or other offer
                    was new or only offered that day, and the sale, discount, price, or
 5
                    other offer was in fact already being offered; (3) a sale, discount,
 6                  price, or other offer would ending soon, and the sale, discount, price,
                    or other offer continued to be offered for at least another day; or (4)
 7                  a sale, discount, price, or other offer was being extended, when the
                    sale, discount, price, or other offer was previously planned to
 8                  continue through the extension advertised.
 9          Excluded from the Class are Old Navy, any entity in which Old Navy has a controlling
10 interest or that has a controlling interest in Old Navy, and Old Navy’s legal representatives,

11 assignees, and successors. Also excluded are the judge to whom this case is assigned and any

12 member of the judge’s immediate family.

13          92.     Numerosity. The Class is so numerous that joinder of all members is
14 impracticable. The Class has more than 1,000 members. Moreover, the disposition of the claims

15 of the Class in a single action will provide substantial benefits to all parties and the Court.

16          93.     Commonality. There are numerous questions of law and fact common to Plaintiffs
17 and members of the Class. The common questions of law and fact include, but are not limited to:

18                  a.      Whether Old Navy sent commercial electronic mail messages with false
19 and misleading information in the subject lines;

20                  b.      Whether Old Navy initiated the transmission or conspired to initiate the
21 transmission of commercial electronic mail messages to recipients residing in Washington State

22 in violation of RCW 19.190.020;

23                  c.      Whether a violation of RCW 19.190.020 establishes all the elements of a
24 claim under Washington’s Consumer Protection Act, RCW 19.86 et seq.;

25

26
     2
    “Residents” shall have the same meaning as “persons” as defined in RCW 19.190.010(11) and
27 RCW 19.86.010(a).
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 1                  d.      Whether Plaintiffs and the proposed Class are entitled to an injunction
 2 enjoining Old Navy from sending the unlawful emails in the future; and

 3                  e.      The nature and extent of Class-wide injury and damages.
 4          94.     Typicality. Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs’
 5 claims, like the claims of the Class arise out of the same common course of conduct by Old Navy

 6 and are based on the same legal and remedial theories.

 7          95.     Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class.
 8 Plaintiffs have retained competent and capable attorneys with significant experience in complex

 9 and class action litigation, including consumer class actions and class actions involving

10 violations of CEMA. Plaintiffs and their counsel are committed to prosecuting this action

11 vigorously on behalf of the Class and have the financial resources to do so. Neither Plaintiffs nor

12 their counsel have interests that are contrary to or that conflict with those of the proposed Class.

13          96.     Predominance. Old Navy has a standard practice of initiating or conspiring to
14 initiate commercial electronic mail messages to email addresses held by Washington State

15 residents. The common issues arising from this conduct predominate over any individual issues.

16 Adjudication of these issues in a single action has important and desirable advantages of judicial

17 economy.

18          97.     Superiority. Plaintiffs and members of the Class have been injured by Old Navy’s
19 unlawful conduct. Absent a class action, however, most Class members likely would find the

20 cost of litigating their claims prohibitive. Class treatment is superior to multiple individual suits

21 or piecemeal litigation because it conserves judicial resources, promotes consistency and

22 efficiency of adjudication, provides a forum for small claimants, and deters illegal activities. The

23 members of the Class are readily identifiable from Old Navy’s records and there will be no

24 significant difficulty in the management of this case as a class action.

25          98.     Injunctive Relief. Old Navy’s conduct is uniform as to all members of the Class.
26 Old Navy has acted or refused to act on grounds that apply generally to the Class, so that final

27 injunctive relief or declaratory relief is appropriate with respect to the Class as a whole. Plaintiffs
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 1 further allege, on information and belief, that the emails described in this Complaint are

 2 substantially likely to continue in the future if an injunction is not entered.

 3                                     VI.       CAUSES OF ACTION
 4                                 FIRST CLAIM FOR RELIEF
          (Violations of Washington’s Commercial Electronic Mail Act, RCW 19.190 et seq.)
 5
            99.     Plaintiffs reallege and incorporate by reference each and every allegation set forth
 6
     in the preceding paragraphs.
 7
            100.    Washington’s CEMA prohibits any “person,” as that term is defined in RCW
 8
     19.190.010(11), from initiating or conspiring to initiate the transmission of a commercial
 9
     electronic mail message from a computer located in Washington or to an electronic mail address
10
     that the sender knows, or has reason to know, is held by a Washington resident that contains
11
     false or misleading information in the subject line.
12
            101.    Old Navy is a “person” within the meaning of the CEMA, RCW 19.190.010(11).
13
            102.    Old Navy initiated the transmission or conspired to initiate the transmission of
14
     one or more commercial electronic mail messages to Plaintiffs and proposed Class members with
15
     false or misleading information in the subject line.
16
            103.    Old Navy’s acts and omissions violated RCW 19.190.020(1)(b).
17
            104.    Old Navy’s acts and omissions injured Plaintiffs and proposed Class members.
18
            105.    The balance of the equities favors the entry of permanent injunctive relief against
19
     Old Navy. Plaintiff, the members of the Class and the general public will be irreparably harmed
20
     absent the entry of permanent injunctive relief against Old Navy. A permanent injunction against
21
     Old Navy is in the public interest. Old Navy’s unlawful behavior is, based on information and
22
     belief, ongoing as of the date of the filing of this pleading; absent the entry of a permanent
23
     injunction, Old Navy’s unlawful behavior will not cease and, in the unlikely event that it
24
     voluntarily ceases, is likely to reoccur.
25
            106.    Plaintiffs and Class members are therefore entitled to injunctive relief in the form
26
     of an order enjoining further violations of RCW 19.190.020(1)(b).
27
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 1                                SECOND CLAIM FOR RELIEF
           (Per se violation of Washington’s Consumer Protection Act, RCW 19.86 et seq.)
 2
            107.     Plaintiffs reallege and incorporate by reference each and every allegation set forth
 3
     in the preceding paragraphs.
 4
            108.     Plaintiffs and Class members are “persons” within the meaning of the CPA, RCW
 5
     19.86.010(1).
 6
            109.     Old Navy violated the CEMA by initiating or conspiring to initiate the
 7
     transmission of a commercial electronic mail messages to Plaintiffs and Class members’ that
 8
     contain false or misleading information in the subject line.
 9
            110.     A violation of CEMA is a “per se” violation of the Washington Consumer
10
     Protection Act (“CPA”), RCW 19.86.010, et seq. RCW 19.190.030.
11
            111.     A violation of the CEMA establishes all five elements of Washington’s Consumer
12
     Protection Act as a matter of law.
13
            112.     Old Navy’s violations of the CEMA are unfair or deceptive acts or practices that
14
     occur in trade or commerce under the CPA. RCW 19.190.100.
15
            113.     Old Navy’s unfair or deceptive acts or practices vitally affect the public interest
16
     and thus impact the public interest for purposes of applying the CPA. RCW 19.190.100.
17
            114.     Pursuant to RCW 19.19.040(1), damages to each recipient of a commercial
18
     electronic mail message sent in violation of the CEMA are the greater of $500 for each such
19
     message or actual damages, which establishes the injury and causation elements of a CPA claim
20
     as a matter of law. Lyft, 406 P.3d at 1155.
21
            115.     Old Navy engaged in a pattern and practice of violating the CEMA. As a result of
22
     Old Navy’s acts and omissions, Plaintiffs and Class members have sustained damages, including
23
     $500 in statutory damages, for each and every email that violates the CEMA. The full amount of
24
     damages will be proven at trial. Plaintiffs and Class members are entitled to recover actual
25
     damages and treble damages, together with reasonable attorneys’ fees and costs, pursuant to
26
     RCW 19.86.090.
27
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 1         116.    Under the CPA, Plaintiffs and members of the Class are also entitled to, and do
 2 seek, injunctive relief prohibiting Old Navy from violating the CPA in the future.

 3                                  VII.    REQUEST FOR RELIEF
 4         WHEREFORE, Plaintiffs, on their own behalf and on behalf of the members of the Class,
 5 request judgment against Old Navy as follows:

 6         A.      That the Court certify the proposed Class;
 7         B.      That the Court appoint Plaintiffs as Class Representatives.
 8         C.      That the Court appoint the undersigned counsel as counsel for the Class;
 9         D.      That the Court should grant injunctive relief as permitted by law to ensure that
10 Old Navy will not continue to engage in the unlawful conduct described in this Complaint;

11         E.      That the Court enter a judgment awarding any other injunctive relief necessary to
12 ensure Old Navy’s compliance with the CEMA;

13         F.      That Old Navy be immediately restrained from altering, deleting or destroying
14 any documents or records that could be used to identify members of the Class;

15         G.      That Plaintiffs and all Class members be awarded statutory damages in the
16 amount of $500 for each violation of the CEMA pursuant to RCW 19.190.020(1)(b) and treble

17 damages pursuant to RCW 19.86.090;

18         H.      That the Court enter an order awarding Plaintiffs reasonable attorneys’ fees and
19 costs; and

20         I.      That Plaintiffs and all Class members be granted other relief as is just and
21 equitable under the circumstances.

22
                                         VIII. TRIAL BY JURY
23         Plaintiffs demand a trial by jury for all issues so triable.
24

25

26

27
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 1         RESPECTFULLY SUBMITTED AND DATED this 19th day of April, 2023.
 2
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                                                                EXHIBIT A

   Date Sent                                Email Subject                                                    Misleading
9/20/2018      ALL JEANS ON SALE!
9/20/2018      Last call: HALF OFF *all* jeans for the littles                           Sale "Ending" (Complaint Section IV(B)(3))
9/24/2018      50% OFF *all* tees today + our jeans sale is ending soon                  Sale "Ending" (Complaint Section IV(B)(3))
               EXPIRATION ALERT! Up to 50% OFF storewide + ALL jeans on
                                                                                         Sale "Ending" (Complaint Section IV(B)(3))
9/25/2018      sale end TONIGHT
9/29/2018      ***50% OFF ALL jeans + 30% OFF all. this. NEW.***
10/29/2018     SAY WHAT?! Up to 50% OFF storewide!
10/30/2018     50% OFF *all* SWEATSHIRTS & HOODIES! 6 HRS ONLY                           Already on Sale (Complaint Section IV(B)(2))
11/2/2018      ***TODAY: 50% OFF ALL SWEATERS***
11/2/2018      TODAY! It's all about those HALF OFF sweaters
               💥 WOWZA💥 Up to 50% OFF *all* jeans, pants, sweaters & outerwear
11/5/2018      in-store!

11/6/2018      ❗ALL jeans, pants, sweaters & outerwear are up to FIFTY PERCENT OFF❗
               AN EXCUSE TO SHOP! *ALL* jeans, pants, sweaters & outerwear are up
11/8/2018      to 50% OFF
               50% OFF *all* jeans, sweaters & outerwear. (This almost NEVER
11/10/2018     happens!)
11/13/2018     💌 40% OFF YOUR ORDER ENCLOSED!
               🎤 You get 40% OFF your order. And you get 40% OFF your order.
11/13/2018     EVERYONE GETS 40% OFF THEIR ORDER
11/14/2018     40% OFF your order is ending! You better hurry...                    Sale "Ending" (Complaint Section IV(B)(3))
11/16/2018     HOLIDAY YOUR ❤ OUT with 40% OFF your ENTIRE purchase
11/19/2018     OMG! ALL SWEATERS ON SALE (HALF OFF!)
11/19/2018     📎 Yayyyyyy! You're approved for HALF-PRICE SWEATERS                  Already on Sale (Complaint Section IV(B)(2))
               JUST HOURS LEFT: 50% OFF EVERYTHING ONLINE — MEET
                                                                                    Sale "Ending" (Complaint Section IV(B)(3))
11/27/2018     US AT THE WWW
11/28/2018     Your up to 50% OFF STOREWIDE is waiting!
11/29/2018     BEST. NEWS. EVER: Up to 50% OFF storewide with styles from $4!
                                                                                           Sale "Ending" (Complaint Section IV(B)(3))
12/4/2018      EEK! This is your LAST CHANCE for up to 50% OFF STOREWIDE
               *ADDS EVERYTHING TO CART* — the ENTIRE STORE is up to 60%
12/5/2018      OFF
               FINAL. NOTICE. Up to FIFTY PERCENT OFF jeans & more ends
                                                                                           Sale "Ending" (Complaint Section IV(B)(3))
2/1/2019       NOW
2/2/2019       ***$12 jeans (really!)***
2/3/2019       ** Up to FIFTY PERCENT OFF these pants **
2/4/2019       Code HURRY for 30% OFF EVERYTHING (you've won big) --->
               GAH! This is the last chance to get up to 50% OFF (& SUPER CASH
                                                                                           Sale "Ending" (Complaint Section IV(B)(3))
2/10/2019      is ending, too!)
2/11/2019      We've announced UP TO 50% OFF STOREWIDE (starting now)
2/12/2019      UP TO 50% OFF STOREWIDE — STYLES FROM $6
2/15/2019      Up to 50% OFF s-t-o-r-e-w-i-d-e
2/16/2019      🌈 50% OFF *all* jeans + up to 50% OFF storewide — lucky you!
3/17/2019      '$20 Rockstars + 40% OFF (final reminder!)                                  Sale "Ending" (Complaint Section IV(B)(3))
               Urgent: You're getting FORTY PERCENT OFF EVERYTHING online for
3/18/2019      one more day!
                                                                                           Sale Available Longer Than States (Complaint
5/15/2021      '$12 women's compression leggings, today only                               Section IV(B)(1))
5/16/2021      TWELVE DOLLAR compression leggings
               '$8 plush tees are now at your disposal (omg!) + 50% OFF YOUR
10/16/2021     PURCHASE -->
               You're just in time for $8 plush tees (going fast!) + 50% OFF your purchase
10/16/2021     is inside (including clearance!)
               *ADDS EVERYTHING TO CART* You've been gifted 50% OFF your
10/16/2021     purchase + $8 plush tees now confirmed


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  Date Sent                                Email Subject                                           Misleading
10/17/2021    50% OFF has officially been activated + $12 sweaters (really!)*** Already on Sale (Complaint Section IV(B)(2))
              ENDING SOON: snag 50% off your order before Giftober ends + $14
                                                                                Sale "Ending" (Complaint Section IV(B)(3))
10/18/2021    flannel PJ sets
              📯 SALE ALERT 📯 You've received MAJOR discounts (up to 50% off)!
10/19/2021    + PowerPress bras & leggings from $10
              SALE NOTIFICATION: You're the recipient of up to 50% OFF +
                                                                                Already on Sale (Complaint Section IV(B)(2))
10/21/2021    permission to DOUBLE DIP --->
              Black Friday starts NOW! Open for 50% OFF (one more thing to be
11/25/2021    thankful for 🦃)

11/25/2021    ⏰ RISE & SHINE! $8 microfleece sweatshirts + FIFTY PERCENT OFF
11/25/2021    The dishes can wait: 50% off + $8 microfleece sweatshirts
              HALF OFF your purchase + $8 microfleece sweatshirts bc we know you're
11/25/2021    ready to lounge
              TODAY'S THE BIG DAY! $5 PJ PANTS IN-STORE & 50% OFF
11/25/2021    ONLINE (YAAAAASSSSS!)
              ☕ Grab your joe — most stores are OPEN NOW! Get 50% off, $5 PJ
11/26/2021    pants & more
              50% OFF + $5 PJ PANTS for the family — time to BLACK FRIDAY IT
11/26/2021    UP
                                                                                      Sale "Ending" (Complaint Section IV(B)(3))
11/26/2021    🎁 FINAL HOURS: $5 PJ pants + 50% off — get your gift list ready
11/27/2021    FIFTY PERCENT OFF + the Saturday Steal is baaaack!
              ✨ CYBER WEEKEND IS HAPPENING ✨ $1 cozy socks in-store,                  Sale Available Longer Than States (Complaint
11/27/2021    $10 jeans, $6 Thermal Tees, 50% off & more                              Section IV(B)(1))
              '$1 COZY SOCKS, $10 JEANS, $6 THERMALS & 50% OFF! You've
11/27/2021    really won big...
              WAHOO! 50% OFF + $8 thermal leggings, $1 cozy socks & cyber deals
11/28/2021    are ON

11/28/2021    You've scored $1 COZY SOCKS, $8 THERMAL LEGGINGS & 50% OFF
11/28/2021    '$8 thermal leggings (seriously!) + HALF OFF your purchase
              Last chance for $8 thermal leggings + 50% OFF & sooo many cyber
                                                                                 Sale "Ending" (Complaint Section IV(B)(3))
11/28/2021    deals
              CYBER EVENT CONFIRMED ⚡ FIFTY PERCENT OFF + $7 PJ
                                                                                 Already on Sale (Complaint Section IV(B)(2))
11/29/2021    pants
              50% OFF. $7 PJ PANTS. GIFTS FROM $2.50.                            Sale Available Longer Than States (Complaint
11/29/2021    BEST.MONDAY.EVER                                                   Section IV(B)(1))
              You've earned it! 50% OFF & $7 PJ pants, plus more Cyber Monday Sale Available Longer Than States (Complaint
11/29/2021    deals                                                              Section IV(B)(1))
11/29/2021    FINAL HOURS: 50% OFF *and* $7 PJ pants                             Sale "Ending" (Complaint Section IV(B)(3))
11/29/2021    OMG! $7 PJ pants are cozier than ever + 50% off
              No joke, it's CYBER TUESDAY! 50% off has been extended for ONE.
                                                                                 Sale "Extended" (Complaint Section IV(B)(4))
11/30/2021    MORE. DAY.
11/30/2021    FIFTY PERCENT OFF has been extended + 60% off ~these~ picks        Sale "Extended" (Complaint Section IV(B)(4))
              Oooooh! SIXTY percent off cozy faves for the fam + we're extending
                                                                                 Sale "Extended" (Complaint Section IV(B)(4))
11/30/2021    50% off online until midnight

11/30/2021    Attn, attn, attn: 50% off purchase + 60% off *these* styles END TONIGHT
              🚨 SATURDAY STEAL 🚨 $10 flannels & $6 thermals + 50% off your Sale Available Longer Than States (Complaint
12/18/2021    purchase                                                                Section IV(B)(1))
12/19/2021    Last chance for $10 joggers + 50% OFF!
              **BEST DAY EVER** 50% OFF YOUR PURCHASE + $12                           Sale Available Longer Than States (Complaint
1/22/2022     PowerSoft leggings have arrived                                         Section IV(B)(1))
              50% OFF has officially been activated + you've officially scored
                                                                                      Already on Sale (Complaint Section IV(B)(2))
1/23/2022     FIFTEEN-DOLLAR ROCKSTAR JEANS


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  Date Sent                                 Email Subject                                                  Misleading
              🙌 <--- Your reaction to 60% OFF these styles + you've scored 50% OFF
1/24/2022     your purchase
              (1) message: You've got special offers from $8 + fifty percent off active
2/11/2022     verified
              Omg! This STOREWIDE sale on styles from $8 just landed + fifty
                                                                                        Already on Sale (Complaint Section IV(B)(2))
2/13/2022     percent off active verified
              Psssst! 40% off at checkout + $20 shortalls & $25 overalls (THIS!         Sale Available Longer Than States (Complaint
3/17/2022     WEEK! ONLY!)                                                              Section IV(B)(1))
              You seriously deserve FORTY PERCENT OFF + $3
3/19/2022     TANKS—YAYYYYYY!
3/20/2022     FORTY PERCENT OFF ending soon!                                            Sale "Ending" (Complaint Section IV(B)(3))
              SAVINGS ALERT! 40% off your purchase + fifty percent off *all* jeans is
3/27/2022     waiting
              This $15 jean jacket is E-V-E-R-Y-T-H-I-N-G + take 40% off your
3/28/2022     purchase!
4/1/2022      50% OFF (!!!) + $15 cami mini dresses

4/1/2022      You've unlocked 50% OFF (even new arrivals😉) + $15 cami mini dresses
4/1/2022      ◎ NO JOKE: You're approved for 50% OFF + $15 cami mini dresses
4/2/2022      ❗ BIG NEWS ❗ 50% OFF YOUR PURCHASE + $12 linen pants
4/2/2022      🔥 HOT DEAL 🔥 50% OFF PURCHASE + $12 linen pants
4/2/2022      ➡ FIFTY PERCENT OFF is inside + $12 linen pants
              🌷 HALF OFF your purch incl. new spring arrivals + $10 bike shorts (yes,
4/3/2022      officially)
4/3/2022      '$10 bike shorts + you're approved for 50% OFF
4/3/2022      VERIFIED: 50% OFF YOUR ORDER is our little treat
4/4/2022      You've unlocked $12 jeans + 50% OFF!
              JUUUUUST ANNOUNCED: 50% off your purchase + $12 jeans
                                                                                      Already on Sale (Complaint Section IV(B)(2))
4/4/2022      TODAY
4/4/2022      **BEST DAY EVER** 50% OFF YOUR PURCHASE                                 Already on Sale (Complaint Section IV(B)(2))
                                                                                      Sale Available Longer Than States (Complaint
4/15/2022     3 DAYS ONLY! 50% OFF DRESSES, SHORTS, & ACTIVE!                         Section IV(B)(1)) (See Ex. B)
                                                                                      Sale Available Longer Than States (Complaint
4/25/2022     THIS WEEK ONLY! $15 t-shirt dresses                                     Section IV(B)(1)) (See Ex. B)
                                                                                      Sale Available Longer Than States (Complaint
4/30/2022     No joke! $12.50 JEANS (today only) + $15 T-SHIRT DRESSES                Section IV(B)(1))
                                                                                      Sale Available Longer Than States (Complaint
4/30/2022     Well-deserved: $12.50 jeans today                                       Section IV(B)(1))
5/1/2022      '$12.50 JEANS (today only!) + you're due for $8 STYLES                  Already on Sale (Complaint Section IV(B)(2))
5/24/2022     This is BIG, ppl: our ENTIRE STORE is on sale
5/24/2022     👆You get 60% off, 👇you get 60% off, 👉 you get 60% off
5/25/2022     '$5 TEES + 60% off deals inside
              ENTIRE STORE ON SALE (best day ever!!) + Navyist Rewards
                                                                                      Already on Sale (Complaint Section IV(B)(2))
5/26/2022     members get $10 off your in-store purchase
5/27/2022     CHA-CHING! The entire store is on sale + $8 dresses
5/27/2022     YESSS! $8 dresses + ENTIRE STORE ON SALE
              Oooooh! $2 TANKS ARE CALLING YOUR NAME + ENTIRE
                                                                                      Sale "Ending" (Complaint Section IV(B)(3))
5/28/2022     STORE ON SALE ENDS SOON!
5/29/2022     ENDING SOON: don't miss our entire store on sale + $2 tanks!            Sale "Ending" (Complaint Section IV(B)(3))
5/29/2022     Omg omg omg $2 tank tops + the ENTIRE STORE is on sale
              ACT ASAP: You've landed $10 linen pants & $8 linen shorts + ENTIRE
5/30/2022     STORE SALE ENDS TONIGHT
              ⌛HURRY — entire store on sale ends soon + $10 linen pants & $8 linen
5/30/2022     shorts
              YESSSS! ENTIRE STORE ON SALE + you've landed $10 linen pants &
5/30/2022     $8 linen shorts


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  Date Sent                                Email Subject                                                   Misleading
                                                                                       Sale Available Longer Than States (Complaint
6/2/2022      Snag $19 and under styles for the fam + $12 cami tops (this week only!!) Section IV(B)(1)) (See Ex. B)
6/4/2022      '$12 Cami tops & shorts
6/4/2022      🔥 HOT DEAL ALERT 🔥 $12 cami tops & shorts
              Make a splash with 50% off ALL swim + $29 matching tops & bottoms Sale Available Longer Than States (Complaint
6/7/2022      (this week only!)                                                        Section IV(B)(1)) (See Ex. B)
              SIXTY PERCENT OFF is available + $14.50 tops & bottoms (limited          Sale Available Longer Than States (Complaint
6/13/2022     time only!)                                                              Section IV(B)(1))
              ATTN: Under $8 deals are confirmed + HALF OFF ALL DRESSES has
6/17/2022     arrived today
6/18/2022     '@You: FIFTY PERCENT OFF all dresses (today only!)                       Already on Sale (Complaint Section IV(B)(2))
8/20/2022     50%. OFF. ALL JEANS & 50% OFF LUXE TEES & TANKS

8/20/2022     '@You: FIFTY PERCENT OFF ALL JEANS & LUXE TEES is confirmed
              A rare offer: You've uncovered 50% off ALL Jeans + 40% OFF your
                                                                                       Already on Sale (Complaint Section IV(B)(2))
8/21/2022     order
              You checked your email just in time! Up to FIFTY PERCENT OFF
                                                                                       Sale "Ending" (Complaint Section IV(B)(3))
10/23/2022    storewide on sale + $15 sweatshirts
              Spreading cheer early! Up to 50% off storewide + 50% off all jeans & $25
10/30/2022    cozy sweaters
11/4/2022     🎉 $15 jeans enclosed + pajamas from only $9
11/5/2022     '$9 PJs — today only! And, get $2 cozy socks in-store                    Already on Sale (Complaint Section IV(B)(2))
              CYBER WEEKEND OFFICIAL: 50% off EVERYTHING (for real!) + Sale Available Longer Than States (Complaint
11/26/2022    $12 jeans & $2 cozy socks                                                Section IV(B)(1))
              Open soon: $12 JEANS won't last + 50% OFF *EVERYTHING* is
11/26/2022    unmissable
              '$12 JEANS & $2 COZY SOCKS are calling your name + FIFTY
11/26/2022    PERCENT OFF everything!
11/26/2022    Not a drill: FIFTY PERCENT OFF EVERYTHING (we mean it)
11/27/2022    Whoop whoop! 50% OFF everything, $2 cozy socks & $7 thermal tees
              '$2 cozy socks, $7 thermal tees (today only!) & FIFTY PERCENT OFF
11/27/2022    EVERYTHING
              Seriously: You're covered with 50% OFF EVERYTHING, $2 cozy socks &
11/27/2022    $7 thermal tees
              '$7 thermal tees you'll love + FIFTY PERCENT OFF EVERYTHING
11/27/2022    confirmed
              RE: CYBER DEALS ⚡ $3 PJ shorts & $4 long-sleeve tees are calling
11/28/2022    your name & FIFTY PERCENT OFF
              '$3 PJ SHORTS. $4 TEES. 50% OFF EVERYTHING. BEST. MONDAY.
11/28/2022    EVER
11/28/2022    Your attention please: FIFTY PERCENT OFF EVERYTHING (really!)
11/28/2022    50% off everything featuring $3 PJ shorts & $4 tees (yes, officially!)
              Special alert: 50% off EVERYTHING extended just for you + $10
                                                                                       Sale "Extended" (Complaint Section IV(B)(4))
11/29/2022    turtlenecks
11/29/2022    LIMITED TIME: 50% OFF EVERYTHING ends today
11/29/2022    Yours to claim: $10 turtlenecks + 50% off everything
11/29/2022    REDEEM NOW: 50% OFF EVERYTHING is gone soon
12/10/2022    '$14 sherpa pullovers so cozy you'll want a few + $5 beanies
12/11/2022    '$14 sherpa pullovers today + FIVE DOLLAR BEANIES                        Already on Sale (Complaint Section IV(B)(2))




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Date Sent                                  Email Subject                                                             Misleading
4/15/2022   3 DAYS ONLY! 50% OFF DRESSES, SHORTS, & ACTIVE!                              Sale Available Longer Than States (Complaint Section IV(B)(1))

4/15/2022   3 DAYS FOR HALF OFF THESE 3 THINGS 👉                                         Sale Available Longer Than States (Complaint Section IV(B)(1))
            50% OFF DRESSES, SHORTS & ACTIVEWEAR + OMG! Here's **Up to
4/16/2022
            60% OFF**
            Half off dresses, half off shorts, half off activewear + stock up on all things
4/16/2022
            spring for $15 & under
            WHEW! Our new arrivals are s-t-a-c-k-e-d 😎 + 50% off all shorts, dresses,
4/16/2022
            & activewear
4/17/2022   50% OFF all dresses | 50% OFF all shorts | 50% off all activewear
            ⏰ Time's almost out — snag 50% OFF all dresses, shorts & active +
4/17/2022                                                                                   Sale "Ending" (Complaint Section IV(B)(3))
            tees from $8, shorts from $15 & jeans from $14
4/17/2022   ATTN! 50% off all these must-haves + CLEARANCE from $2.99
4/18/2022   Yes, seriously: You just landed $8 and up styles + 50% OFF ACTIVE
4/18/2022   ACT ASAP! 50% OFF active + 40% off your purchase are inside
4/23/2022   '$14 PowerSoft shorts confirmed for today + $15 t-shirt dresses
4/24/2022   👉 Too amazing to miss! ALL shoes 50% OFF + $15 t-shirt dresses
4/25/2022   THIS WEEK ONLY! $15 t-shirt dresses                                          Sale Available Longer Than States (Complaint Section IV(B)(1))
4/29/2022   '$15 SHORTS as a thank you + $15 T-SHIRT DRESSES (yessss!)
4/30/2022   Just dropped: $12.50 jeans
4/30/2022   No joke! $12.50 JEANS (today only) + $15 T-SHIRT DRESSES                     Sale Available Longer Than States (Complaint Section IV(B)(1))

4/30/2022   Well-deserved: $12.50 jeans today                                            Sale Available Longer Than States (Complaint Section IV(B)(1))
 5/1/2022   '$12.50 JEANS are impossible to resist
 5/1/2022   Approved! $12.50 JEANS (today only!) + $8 STYLES                             Already on Sale (Complaint Section IV(B)(2))
 5/1/2022   '$12.50 jeans enclosed (yes, really) + $15 t-shirt dresses confirmed
 5/3/2022   SIXTY percent off these sunny day styles + $16 OG Straight shorts
 5/5/2022   THIS WEEK ONLY! $16 OG Straight shorts
 5/8/2022   ❗❗$12.50 PowerSoft leggings + $16 OG Straight shorts
 5/9/2022   ONE DAY ONLY ❗ 50% OFF jeans + $16 OG Straight shorts                        Already on Sale (Complaint Section IV(B)(2))
5/24/2022   This is BIG, Michelle: our ENTIRE STORE is on sale
5/24/2022   👆You get 60% off, 👇you get 60% off, 👉 you get 60% off
5/25/2022   CONGRATS! $5 TEES (not a typo!) + a sale on the ENTIRE STORE
            ENTIRE STORE ON SALE (best day ever!!) + Navyist Rewards                     Sale Available Longer Than States (Complaint Section IV(B)(1));
5/26/2022
            members get $10 off your in-store purchase                                   Already on Sale (Complaint Section IV(B)(2))
5/26/2022   Looks for on & off the court + the ENTIRE STORE is on sale
5/27/2022   CHA-CHING! The entire store is on sale + $8 dresses
5/27/2022   YESSS! $8 dresses + ENTIRE STORE ON SALE
            '$2 TANKS HAVE ARRIVED (YES, SERIOUSLY) + ENTIRE STORE
5/28/2022                                                                                Sale "Ending" (Complaint Section IV(B)(3))
            ON SALE ENDS SOON!
5/29/2022   ENDING SOON: don't miss our entire store on sale + $2 tanks!                 Sale "Ending" (Complaint Section IV(B)(3))
5/29/2022   Omg omg omg $2 tank tops + the ENTIRE STORE is on sale
            ACT ASAP: You'll LOVE these $10 linen pants & $8 linen shorts +
5/30/2022
            ENTIRE STORE SALE ENDS TONIGHT
            ⌛HURRY — entire store on sale ends soon + $10 linen pants & $8 linen
5/30/2022
            shorts
            YESSSS! ENTIRE STORE ON SALE + you've landed $10 linen pants & $8
5/30/2022
            linen shorts
6/2/2022    Snag $19 and under styles for the fam + $12 cami tops (this week only!!) Sale Available Longer Than States (Complaint Section IV(B)(1))
6/4/2022    '$12 Cami tops & shorts
6/4/2022    🔥 HOT DEAL ALERT 🔥 $12 cami tops & shorts
                                                                                         Sale Available Longer Than States (Complaint Section IV(B)(1));
6/4/2022    Today Only: $12 cami tops + $12 shorts
                                                                                         Already on Sale (Complaint Section IV(B)(2))
6/6/2022    '$19 and under on almost EVERYTHING + $12 cami tops (this week only!!)




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Date Sent                               Email Subject                                                            Misleading
            Make a splash with 50% off ALL swim + $29 matching tops & bottoms
6/7/2022                                                                               Sale Available Longer Than States (Complaint Section IV(B)(1))
            (this week only!)
            Dive into 50% OFF ALL SWIM for the whole family + $29 matching
6/8/2022                                                                               Sale Available Longer Than States (Complaint Section IV(B)(1))
            sets (1 week only!)
6/10/2022   Snag $19 and under styles for the fam + $29 matching sets (1 week only!) Sale Available Longer Than States (Complaint Section IV(B)(1))
6/11/2022   Deals, deals, DEALS: 50% off shorts & tees
6/11/2022   HALF OFF shorts & tees were worth the wait
6/11/2022   Attn: FIFTY PERCENT OFF SHORTS & TEES (for real!)
6/12/2022   ✭ FIFTY PERCENT OFF SHORTS & TEES + summer styles $19 and under
            ✭ FIFTY PERCENT OFF SHORTS & TEES + $29 matching sets (1
6/12/2022                                                                              Sale Available Longer Than States (Complaint Section IV(B)(1))
            week only!)
6/12/2022   FIFTY PERCENT OFF shorts & tees TODAY + $19 and under styles               Already on Sale (Complaint Section IV(B)(2))
            SIXTY PERCENT OFF is available + $14.50 tops & bottoms (limited
6/13/2022                                                                              Sale Available Longer Than States (Complaint Section IV(B)(1))
            time only!)
            YES, IT'S OFFICIAL: summer must-haves $19 and under + $29
6/15/2022                                                                              Sale Available Longer Than States (Complaint Section IV(B)(1))
            matching sets (1 week only!)
            ATTN: HALF OFF ALL DRESSES has arrived today + under $8 deals are
6/17/2022
            confirmed
6/17/2022   You heard correctly, 50% off ALL dresses + summer styles from $2
6/18/2022   A thank you: FIFTY PERCENT OFF all dresses (today only!)                   Already on Sale (Complaint Section IV(B)(2))
6/18/2022   For real: 50% OFF shirts & ALL dresses (what a STEAL!) + $4 flag tees
            CONGRATULATIONS! WE'VE SENT YOU A CLEARANCE JACKPOT
6/18/2022
            + 50% OFF ALL DRESSES
6/20/2022   Psst: This $4 flag tee is unlocked + 50% OFF ALL activewear is inside
            ICYMI: flag tees are back (and they're $4 this week!!!) + summer styles
6/21/2022
            from $2
6/22/2022   All the summer hits, spiced up + $4 flag tees (this week only!)
6/23/2022   TODAY ONLY: $4 tees                                                        Already on Sale (Complaint Section IV(B)(2))
6/25/2022   FIFTY PERCENT OFF *ALL* shoes + $8 dresses (lucky you!)
            Summer up with up to 60% off storewide & styles from $2 + $8 dresses
6/25/2022
            AND 50% off ALL shoes!
            CUTTING IT CLOSE: $8 dresses and HALF OFF all shoes (please
6/25/2022                                                                              Sale "Ending" (Complaint Section IV(B)(3))
            don't forget!)
6/26/2022   😍 Hello $8 summer dresses + summer styles from $2
6/26/2022   A cool breeze just blew these $8 dresses in
6/26/2022   Just for you: $8 dresses (one day and one day ONLY)                        Already on Sale (Complaint Section IV(B)(2))
7/10/2022   OMG! 50% OFF YOUR ENTIRE ORDER + $12.50 PowerSoft leggings
            IT'S OFFICIAL! You've got $12.50 PowerSoft leggings + FIFTY
7/10/2022
            PERCENT OFF PURCHASE waiting
            🤯 FIFTY PERCENT OFF YOUR PURCH — you know we love a sale +
7/10/2022
            $12.50 PowerSoft leggings
            50% OFF your order with picks scientifically proven to make you 🤩 🤩
7/11/2022
            🤩
7/11/2022   Michelle, you're getting HALF OFF YOUR ORDER 😉
7/11/2022   ⏱Tick-tock: 50% OFF for the fam ends soon                                  Sale "Ending" (Complaint Section IV(B)(3))
            50% OFF YOUR PURCHASE (perfect for back-to-school shopping!) + take
7/12/2022
            an extra 50% OFF CLEARANCE
7/12/2022   3 trends to try from now 'til fall + LAST CALL for 50% OFF your purchase
7/12/2022   ⏱Tick-tock: 50% OFF for the fam ends soon
            '$20 women's OG straight jeans | $20 OG loose jeans | $18 girls slouchy
7/29/2022
            straight jeans + ALL KIDS STYLES ON SALE
7/30/2022   You've scored HALF OFF ALL JEANS and $3 kids styles
7/30/2022   🚨DEAL ALERT 🚨 50% off ALL jeans + $3 kids styles
7/30/2022   Confirmed: $3 kids styles + FIFTY PERCENT OFF ALL JEANS!
7/31/2022   🔎 On the hunt for DEALS? 50% off ALL jeans and $3 kids styles
7/31/2022   A Sunday treat 🍬 Half off ALL jeans + $3 kids deals                        Already on Sale (Complaint Section IV(B)(2))



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                                                                     EXHIBIT B


Date Sent                                   Email Subject                                                             Misleading
             👏 Yesssssss! We're bringing you $3 DEALS on kids styles + 50% OFF
7/31/2022
             ALL JEANS
 8/1/2022    ALL JEANS are on sale from $18 + these $6 leggings are all yours
             🗞 This just in! Up to 60% off kids + ALL JEANS ON SALE + $20 OG
 8/2/2022                                                                                   Already on Sale (Complaint Section IV(B)(2))
             straight & OG loose jeans and $18 girls slouchy straight jeans
 8/3/2022    We summer-fied this $8 kids fleece + jeans from $18
             🔊 Did you hear? ALL jeans are on sale from $18 + $8 kids fleece tops &
 8/3/2022
             bottoms
8/20/2022    50%. OFF. ALL JEANS & 50% OFF LUXE TEES & TANKS
8/20/2022    Attn: FIFTY PERCENT OFF ALL JEANS & LUXE TEES (for real!)
             📣 DEALS ANNOUNCEMENT! 50% off ALL jeans and luxe tees &
8/21/2022                                                                                   Already on Sale (Complaint Section IV(B)(2))
             tanks
             A rare offer: You've uncovered 50% off ALL Jeans + 40% OFF your                Sale Available Longer Than States (Complaint Section IV(B)(1));
8/21/2022
             order                                                                          Already on Sale (Complaint Section IV(B)(2))
8/21/2022    Fifty percent off ALL luxe tees & tanks and jeans
             Re: You've unlocked SIXTY PERCENT OFF these styles + $25 PIXIE
 9/7/2022
             PANTS ✨
 9/8/2022    🤩 Looking real profesh in our $25 (!) Pixie & Stevie pants
             Back in FALL force! Get $20 pants, $8 tops & $20 jeans + $25 Pixie
 9/8/2022                                                                                   Sale Available Longer Than States (Complaint Section IV(B)(1))
             pants (this week only!!)
9/10/2022    (1) new message: $6 LEGGINGS | $8 LONG-SLEEVES | $25 PIXIE PANTS
9/10/2022    Earned it: $6 leggings, $8 long-sleeves & $25 Pixie pants
9/11/2022    ⭐ On sale NOW: $6 leggings, $8 long-sleeves + $25 Pixie pants
9/11/2022    Jump on these $6 leggings and $8 long-sleeves! $25 Pixie pants, too
9/11/2022    FALL HAUL IS BACK! $6 leggings, $8 long-sleeves & $25 Pixie pants
             PIXIE PANT LOVERS, REJOICE! 🙌 $25 Ankle, skinny & flare styles are
9/12/2022
             here
9/12/2022    This week only!! $25 Pixie pants                                               Sale Available Longer Than States (Complaint Section IV(B)(1))
9/15/2022    Here's $15 sweatshirts + $25 for our most-loved Pixie pant
9/17/2022    '$14 jeans?! In this economy?! Yep 😎
9/17/2022    OMG! $14 jeans
9/17/2022    PSA! $14 jeans
9/18/2022    Make room in your closet for these styles + $14 JEANS
9/18/2022    Get $14 jeans today                                                            Already on Sale (Complaint Section IV(B)(2))
9/18/2022    Your Super Cash is good to redeem on these $14 JEANS
9/24/2022    Your fall refresh: $11.50 flannel shirts & $25 flare jeans 🍁
9/24/2022    '$11.50 flannel shirts for gettin' cozy
9/24/2022    *** $11.50 FLANNEL SHIRTS & $25 flare jeans
9/25/2022    Unlocked: $11.50 flannels & $25 flare jeans
9/25/2022    '$11.50 FLANNELS have arrived                                                  Already on Sale (Complaint Section IV(B)(2))
9/25/2022    '$11.50 flannel shirts & $25 flare jeans (a full fall 'fit)
9/28/2022    🥳 Styles on sale from $8 + 30% OFF your purchase + $6 leggings
9/28/2022    Just for today! $6 leggings + tons & tons of styles from $8                    Sale Available Longer Than States (Complaint Section IV(B)(1))
9/29/2022    Break these out in case of chill 🧊 + confirmed: 1000s of styles from $8
9/30/2022    Snuggle up to this $14.50 sweater today + confirmed: 1000s of styles from $8
             30% OFF your purchase & 1000s of styles from $8 + 50% OFF
10/2/2022
             ACTIVEWEAR
             ATTN, PLEASE! $12.50 5-STAR JEANS + 50% OFF EVERYTHING just
10/16/2022
             landed
             You've been granted 50% OFF EVERYTHING + $12 SWEATERS (get
10/17/2022
             gifting!)
             Redeemable ASAP: You've uncovered FIFTY PERCENT OFF
10/18/2022
             EVERYTHING + $9 microfleece jackets
             Cutting it close: You're due for FIFTY PERCENT OFF EVERYTHING
10/18/2022                                                                 Sale "Ending" (Complaint Section IV(B)(3))
             + $9 microfleece jackets!
10/19/2022   YAYYYY! Up to 50% OFF storewide + $25 women's cozy sweaters



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                                                                   EXHIBIT B


Date Sent                                   Email Subject                                                       Misleading
             Special delivery! You've got CLEARANCE from $3.99 + up to FIFTY
10/21/2022
             PERCENT OFF storewide waiting
             (1) New message: We're offering you up to 50% OFF storewide on sale + get
10/22/2022
             $15 flannel shirts & the $25 cozy sweater
             OMG, YAY! $15 sweatshirts & up to fifty percent off storewide are calling
10/23/2022
             your name
             You checked your email just in time! Up to FIFTY PERCENT OFF
10/23/2022                                                                             Sale "Ending" (Complaint Section IV(B)(3))
             storewide on sale + $15 sweatshirts
             Confirmed! Up to FIFTY PERCENT OFF storewide on sale + $25 for the
10/28/2022
             sweater that feels like a hug
             Spreading cheer early! Up to 50% off storewide + 50% off all jeans & $25
10/30/2022
             cozy sweaters
10/30/2022   HALF OFF ALL jeans & $25 cozy sweaters were worth the wait
11/4/2022    🎉 $15 jeans enclosed + pajamas from only $9
11/5/2022    '$9 PJs — today only! And, get $2 cozy socks in-store                     Already on Sale (Complaint Section IV(B)(2))
             CYBER WEEKEND OFFICIAL: 50% off EVERYTHING (for real!) +
11/26/2022                                                                             Sale Available Longer Than States (Complaint Section IV(B)(1))
             $12 jeans & $2 cozy socks
             '$12 JEANS & $2 COZY SOCKS are calling your name + FIFTY
11/26/2022
             PERCENT OFF everything!
             50% OFF EVERYTHING, $2 cozy socks & $7 thermal tees — yours to
11/27/2022
             claim!
11/28/2022   🛒 We've reserved THIS in your cart + get 50% OFF EVERYTHING
             Special alert: 50% off EVERYTHING extended just for you + $10
11/29/2022                                                                             Sale "Extended" (Complaint Section IV(B)(4))
             turtlenecks
12/10/2022   Up to SIXTY PERCENT OFF on saaaale + $14 sherpa pullovers
12/11/2022   '$14 sherpa pullovers today + FIVE DOLLAR BEANIES                         Already on Sale (Complaint Section IV(B)(2))




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